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     (530) 756-7774
 3
     Attorney for Defendant
 4   ELIAZAR BARRAZA TORRES
 5
                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7

 8

 9
     UNITED STATES OF AMERICA
                                                    )   Case No.: CR S-08-326 FCD
                    Plaintiff,                      )
10
                                                    )   STIPULATION AND ORDER CONTINING
            vs.                                     )
11
                                                    )   STATUS CONFERENCE AND
     AUGUSTIN TORRES BELTRAN, et. al.               )   EXCLUDING TIME
12
                                                    )   .
                    Defendants.                     )
13
                                                    )
14

15

16
                    It is hereby stipulated and agreed to between the United States of America
17
     through Jill Marie Thomas, Assistant United States Attorney; defendant ELIAZAR BARRAZA
18

19   TORRES by and through his counsel, Lindsay Anne Weston; and defendant AUGUSTIN
20
     TORRES BELTRAN, by and through his counsel, Linda Harter, that the status conference in this
21
     matter currently scheduled for Monday, August 4, 2008, at 10:00 a.m. be continued to Monday,
22

23   September 8, 2008, at 10:00 a.m.

24          The basis for this continuance is that both defense counsel were recently appointed and
25
     are just beginning a review of the discovery provided by the government. Further, Ms. Thomas
26
     will be out of the office the week of August 4, 2008. Thus, a continuance of the status conference
27

28   allows the parties to conduct necessary preparation before appearing in court.




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            IT IS FURTHER STIPULATED that the period from August 4, 2008, (the date currently
 1

 2   set for the status conference) through and including September 8, 2008, be excluded in
 3
     computing the time within which trial must commence under the Speedy Trial Act, pursuant to
 4
     18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel.
 5

 6   Dated: July 30, 2008                        Respectfully submitted,

 7                                               /s/Lindsay Weston
 8                                               _________________________________
                                                 LINDSAY ANNE WESTON
 9                                               Attorney for Defendant
10
                                                 ELIAZAR BARRAZA TORRES

11                                               /s/Linda Harter
                                                 ____________________________________
12
                                                 LINDA HARTER
13                                               CHIEF DEPUTY FEDERAL DEFENDER
                                                 Attorney for Defendant
14
                                                 AUGUSTIN TORRES BELTRAN
15                                               Per telephonic authorization

16

17                                               MCGREGOR W. SCOTT
                                                 United States Attorney
18

19
                                                 /s/ Lindsay Weston for
                                                 _______________________________
20                                               JILL MARIE THOMAS
                                                 Assistant United States Attorney
21
                                                 Per telephonic authority
22

23

24                                        ORDER

25   IT IS SO ORDRED.
26
     Dated: July 30, 2008
27
                                               _______________________________________
28                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE



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